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                       THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


FEDERAL TRADE COMMISSION,
Plaintiff,                                                Case No. 3:19-cv-02281-K

vs.

MATCH GROUP, INC., a corporation, and
MATCH GROUP, LLC, formerly known as
MATCH.COM, LLC, a limited liability
company,

Defendants.

          DEFENDANT MATCH GROUP, INC. AND MATCH GROUP, LLC’S
       APPENDIX IN SUPPORT OF MOTION TO EXCLUDE DR. JENNIFER KING

        Pursuant to Federal Rule of Civil Procedure 56 and Local Civil Rule 56.6, Defendants

Match Group, Inc. and Match Group, LLC respectfully submit this Appendix in Support of Motion

to Exclude Dr. Jennifer King.

 Ex.    Description                                                            App. Page(s)
                                        Expert Reports
 1.     Expert Report of Dr. Jennifer King (dated Jan. 13, 2023)               App. 1–75
 2.     Expert Report of Brandon Ward Regarding Match.com’s Online             App. 76–150
        Subscription Cancelation Flow (dated Jan. 13, 2023)
 3.     Rebuttal Expert Report of Dr. Jennifer King (dated May 15, 2023)       App. 151–196
 4.     Rebuttal of Dr. King’s Report Regarding Match.com’s Online             App. 197–255
        Subscription Cancelation Flow (dated May 15, 2023)
 5.     Rebuttal Expert Report to Dr. King’s Rebuttal Report (June 14, 2023)   App. 256–301
                                           Documents
 6.     Moran and Gordon, “How to Conduct a Heuristic Evaluation,”             App. 302–315
        Nielsen Norman Group (6/25/2023)
 7.     Nielsen Norman Group, “First Rule of Usability? Don't Listen to        App. 316–323
        Users,” located at https://www.nngroup.com/articles/first-rule-of-
        usability-dont-listen-to-users/
 8.     16 CFR Part 425 – FTC Negative Option Rule                             App. 324–407
 9.     Usability.gov, “Heuristic Evaluations and Expert Review”               App. 408–410
                                           Depositions


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 Ex.   Description                                                            App. Page(s)
 10.   Bikram Bandy (FTC 30(b)(6)) Deposition Transcript Excerpts (Oct.      App. 411–417
       24, 2022)
 11.   Jennifer King (FTC Expert) Deposition Transcript Excerpts (July 27,   App. 418–459
       2023)
 12.   Kristina Auderer Deposition Transcript Excerpts (Nov. 18, 2022)       App. 460–466



Dated: September 11, 2023                  /s/ Angela C. Zambrano
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2023, I caused true and correct copies of the

foregoing to be served on all counsel of record in accordance with Federal Rules of Civil Procedure

and this Court’s CM/ECF filing system.

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